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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )                8:01CR55
                vs.                                )
                                                   )                ORDER
JORDAN R. IRVIN,                                   )
                                                   )
                        Defendant.                 )

        Defendant Jordan R. Irvin appeared before the court on Monday, August 1, 2005 on a Petition
for Warrant or Summons for Offender Under Supervision [117}. The defendant was represented by
Assistant Federal Public Defender Carlos A. Monzon and the United States was represented by Assistant
U.S. Attorney Douglas R. Semisch. Through his counsel, the defendant waived his right to a probable
cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for
detention. Through counsel, the defendant declined to present any evidence on the issue of detention
and otherwise waived a detention hearing. Since it is the defendant’s burden under 18 U.S.C. § 3143 to
establish by clear and convincing evidence that he is neither a flight risk nor a danger to the community,
the court finds the defendant has failed to carry his burden and that he should be detained pending a
dispositional hearing before Judge Bataillon.
        I find that the Report alleges probable cause and that the defendant should be held to answer for
a final dispositional hearing before Bataillon.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Joseph F. Bataillon in Courtroom
No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at
11:00 a.m. on August 8, 2005. Defendant must be present in person.
        2       The defendant, Jordan R. Irvin, is committed to the custody of the Attorney General or
his designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for
the purpose of an appearance in connection with a court proceeding.
        DATED this 1st day of August, 2005.

                                                          BY THE COURT:

                                                          s/ F. A. Gossett
                                                          United States Magistrate Judge
